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                                                STATE OF NEW YORK
                                          OFFICE OF THE ATTORNEY GENERAL

 LETITIA JAMES                                                                                     EXECUTIVE DIVISION
ATTORNEY GENERAL                                                                               OFFICE OF FEDERAL INITIATIVES


                                                                            January 24, 2022

      By ECF
      Honorable Brenda K. Sannes
      United States District Judge
      United States District Court
      Northern District of New York
      P.O. Box 7336
      Syracuse, NY 13261

                 RE:    Trump v. James, NDNY No. 21 Civ. 1352 (BKS)(CFH)

      Dear Judge Sannes,

              The Office of the Attorney General (“OAG”) represents Defendant, Attorney General
      Letitia James, in the above-captioned case. I write to respectfully request a 5-page extension of
      the 25-page limit applicable to memoranda of law under the Court’s local rules in order to
      respond to Plaintiffs’ complaint. See Local R. 7.1(b)(1). Defendant’s response to the complaint
      is due on or before January 26, 2021. Defendant intends to move to dismiss Plaintiffs’ complaint
      on the basis that it is barred under multiple abstention doctrines due to a pending state court
      proceeding relating to OAG’s ongoing investigation that is the subject of Plaintiffs’ complaint
      and fails to state a claim upon which relief may be granted, in part because the asserted claims
      are barred by res judicata. Because the issues underlying this action, including the procedural
      history of the investigation and state court proceeding, are involved, additional pages are
      warranted.

              By way of brief background, Plaintiffs filed this action on December 20, 2021, seeking to
      enjoin the Attorney General from continuing her investigation into Plaintiffs’ conduct under New
      York Executive Law § 63(12), or alternatively seeking her recusal from the investigation.
      Importantly, Plaintiffs and the Attorney General are parties to an ongoing special proceeding in
      New York Supreme Court, New York County, that was commenced by OAG in August 2020 to
      address subpoena compliance issues relating to the investigation. In addition to issuing a number
      of subpoena compliance orders, the state court now has before it cross-motions to quash and
      compel enforcement of subpoenas seeking testimony from Donald J. Trump and non-parties
      Donald Trump, Jr. and Ivanka Trump. Accordingly, in support of Defendant’s abstention and
      preclusion arguments, OAG will need to provide the Court with a detailed discussion of the
      procedural history of the investigation and state court proceedings to fully and adequately
      explain the basis for Defendant’s motion.


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      We have conferred with Plaintiffs’ counsel and Plaintiffs consent to this application.

                                                        Respectfully submitted,

                                                        /s/ Colleen K. Faherty
                                                        Colleen K. Faherty
                                                        Assistant Attorney General
                                                        NDNY Bar Number 703288

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